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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                   )
                                                       )
                                                       )
                  Plaintiff,                           )
                                                       )
 v.                                                    )   Case No. 4:17-cv-00454-GKF-jfj
                                                       )
 1) CASTLE HILL STUDIOS LLC                            )   REDACTED
    (d/b/a CASTLE HILL GAMING);                        )
 2) CASTLE HILL HOLDING LLC                            )
    (d/b/a CASTLE HILL GAMING); and                    )
 3) IRONWORKS DEVELOPMENT, LLC                         )
    (d/b/a CASTLE HILL GAMING)                         )
                                                       )
                  Defendants.                          )

                  DECLARATION OF PETER SWANSON IN SUPPORT OF PLAINTIFF
                  VIDEO GAMING TECHNOLOGIES INC.’S MOTION TO EXCLUDE
                        THE TESTIMONY OF ROBERT ZEIDMAN IN PART

             1.     I am an attorney with the law firm of Covington & Burling LLP, counsel for

      Plaintiff Video Gaming Technologies, Inc. (“VGT”).   I was admitted pro hac vice in this matter

      on August 8, 2017.

             2.     Attached as Exhibit A is a true and correct copy of excerpts from The Software

      IP Detective’s Handbook, written by Robert Zeidman and published in 2011.

             3.     Attached as Exhibit B is a true and correct copy of a document produced as

      CHG0015304–CHG0015331.

             4.     Attached as Exhibit C is a true and correct copy of an excerpt from the

      Deposition of Robert Zeidman, dated September 28, 2018.

             5.     Attached as Exhibit D is a true and correct copy of the Opening Expert Report of

      Stacy Friedman, dated August 10, 2018.
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          6.     Attached as Exhibit E is a true and correct copy of the Rebuttal Expert Report of

   Robert Zeidman, dated August 31, 2018.

          7.     Attached as Exhibit F is a true and correct copy of an excerpt from the

   Deposition of Alan Roireau, dated August 1, 2018.

          8.     Attached as Exhibit G is a true and correct copy of an excerpt from the

   Deposition of Alan Roireau, dated May 15, 2018.

          9.     Attached as Exhibit H is a true and correct copy of an excerpt from the

   Deposition of Paul Suggs, dated June 8, 2018.

          10.    I declare under penalty of perjury that the foregoing is true and correct. Executed

   on October 12, 2018 in Washington, District of Columbia.

                                               /s/ Peter Swanson
                                               Peter Swanson




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                                    CERTIFICATE OF SERVICE


          I hereby certify that on October 12, 2018, I caused the foregoing Declaration of Peter

   Swanson to be filed via ECF, which caused the foregoing to be served on the following

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                                                       /s/ Gary M. Rubman
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